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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, JUDGE
__________________________________________
HYAXIOM, INC., F/K/A DOOSAN                :
FUEL CELL AMERICA, INC.,                   :
                                           :
                  Plaintiff,               :
                                          :
            v.                             : Court No. 21-00057
                                          :
UNITED STATES OF AMERICA;                  :
U.S. CUSTOMS & BORDER PROTECTION;          :
TROY A. MILLER,                            :
PERFORMING THE DUTIES OF THE               :
COMMISSIONER,                              :
                                          :
                  Defendants.              :
__________________________________________:

                                   JOINT STATUS REPORT

        The parties respectfully submit this joint status report in accordance with the Court’s

February 6, 2025 paperless Order. ECF No. 68. Since the Court issued its Order, the parties

have continued working on a draft Joint Statement of Material facts for Which There is no

Genuine Issue to be Tried, which they expect to finalize shortly, and propose that the Court enter

the following briefing schedule:

        1.     The parties will file a Joint Statement of Material facts for Which There is no

Genuine Issue to be Tried by Friday, March 28, 2025;

        2.     Plaintiff will file its renewed motion for summary judgment by Friday, April 25,

2025;

        3.     Defendants will file their renewed cross motion for summary judgment and

response brief by Friday, June 6, 2025; and

        4.     Plaintiff will file its response and reply brief by Thursday, July 3, 2024.




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                                            Respectfully submitted,

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                                    By:     /s/ Justin R. Miller
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